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                      Exhibit A
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                         FIRM RESUME
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         Blood Hurst & O’Reardon, LLP focuses in the nationwide prosecution of complex class
 actions. The firm represents the interests of consumers, insurance policy holders and investors in
 state and federal trial and appellate courts throughout the country. The principals of Blood Hurst
 & O’Reardon come from a large firm that represented plaintiffs in class action litigation, where
 they formed the core of the consumer and insurance practice group. Blood Hurst & O’Reardon’s
 principals have been appointed lead counsel and have held other leadership positions in a wide
 variety of class action matters.

                                        Timothy G. Blood

        Mr. Blood is the firm’s managing partner. His practice has focused on complex litigation,
 including class action litigation, since the early 1990’s. Mr. Blood has tried class action cases
 and is highly regarded in the field of consumer protection law, including California’s Unfair
 Competition Law and Consumers Legal Remedies Act.

         Mr. Blood has represented millions of retail consumers, holders of life, automobile and
 homeowner insurance policies, mortgagors, credit card customers, homeowners, and victims of
 race discrimination. He practices in both state and federal courts throughout the country, and has
 represented the interests of consumers formally or informally before the Federal Trade
 Commission, the California Department of Justice, the California Legislative Analyst’s Office
 and the California Department of Insurance. He has worked with the Federal Trade Commission
 to obtain record setting recoveries for consumers. In In re Skechers Toning Shoes Prods. Liab.
 Litig. (W.D. Ky.), Mr. Blood’s work with the Federal Trade Commission resulted in the largest
 consumer recovery in a false advertising action in FTC history.

          Since 2010, some of Mr. Blood’s court-appointed leadership positions include: Federal
 Rule of Civil Procedure 23(g) in Mullins v. Premier Nutrition Corp. (N.D. Cal.); Federal Rule of
 Civil Procedure 23(g) Class Counsel in Corvello v. Wells Fargo Bank, N.A. (N.D. Cal.); Class
 Counsel Federal Rule of Civil Procedure 23(g) Class Counsel in Rikos v. The Procter & Gamble
 Co., (S.D. Ohio; Federal Rule of Civil Procedure 23(g) Class Counsel in Godec v. Bayer Corp.
 (N.D. Ohio); Federal Rule of Civil Procedure 23(g) Class Counsel in Johns v. Bayer Corp. (S.D.
 Cal.); Federal Rule of Civil Procedure 23(g) Class Counsel in In re Skechers Toning Shoes
 Prods. Liab. Litig. (W.D. Ky.); Plaintiffs’ Liaison Counsel and Steering Committee member by
 the United States District Court for the Southern District of California in the multidistrict
 litigation In re Sony Gaming Networks and Customer Data Sec. Breach Litig.; Class Counsel by
 the district court for the District of Massachusetts in In re Reebok Easytone Litig.; Class Counsel
 in Serochi v. Bosa Dev. Cal. by the San Diego Superior Court; Co-Lead Class Counsel by the
 Los Angeles Superior Court in In re Toyota Motor Cases, (Toyota Unintended Acceleration
 Consolidated Litigation); Co-Lead Class Counsel by the United States District Court for the
 Southern District of California in the multidistrict litigation In re Hydroxycut Mktg. and Sales
 Practices Litig,; Co-Lead Class Counsel by the United States District Court for the Central
 District of California in Johnson v. Gen. Mills, Inc.; Co-Lead Class Counsel by the United States
 District Court for the Southern District of California in Hartless v. Clorox Co.; and Class
 Counsel by the United States District Court for the Southern District of Florida in Smith v. Wm.
 Wrigley, Jr. Co.

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         Mr. Blood has acted as lead counsel in a number of “functional food” false advertising
 class actions, including cases against General Mills and The Dannon Company filed in federal
 courts around the country. The Dannon litigation resulted in the largest settlement in food
 industry history for false advertising.

         He was lead trial counsel in Lebrilla v. Farmers Ins. Grp., Inc. (Cal. Super. Ct., Orange
 Cnty.) a multistate class action which settled on terms favorable to the class after a month long
 trial and just before closing arguments. He was also co-lead trial counsel in In re Red Light
 Photo Enf’t Cases (Cal. Super. Ct. San Diego Cnty.), an action brought on behalf of California
 motorists.

        Mr. Blood has represented millions of purchasers of food, food supplements and over-
 the-counter drugs arising out of various advertising claims made by manufacturers and retailers.
 He has also represented owners of motor vehicles in product liability cases and consumer credit
 and mortgage borrowers against a number of major lending institutions, including Bank of
 America, Washington Mutual, Countrywide, GMAC and Wells Fargo.

         Mr. Blood has extensive experience litigating against life, auto and other insurance
 carriers on behalf of consumers. His experience litigating against life insurance companies
 includes representing owners, holders and beneficiaries of industrial life insurance in race
 discrimination cases (with class periods dating back to the late 1800’s). He also represented
 those holding traditional life insurance policies in market conduct actions such as the “vanishing
 premium” life insurance actions. Mr. Blood was responsible for one of only two litigated cases
 where classes where certified in the vanishing premium series of cases. He was one of the few
 plaintiffs’ attorneys to obtain class-wide recoveries in the “imitation parts” automobile insurance
 actions. Insurance companies against whom Mr. Blood has litigated include the American
 General companies, Farmers Insurance Group of companies, Mercury Insurance Group, Allstate,
 State Farm, Great Southern Life, Metropolitan Life, United Life Insurance Company, Midland
 National Life Insurance Company and General American Insurance Company.

        Mr. Blood has also represented consumers in traditional false advertising actions, those
 victimized by so-called “negative option” sales practices, and owners of a variety of different
 types of faulty computer equipment and software from manufacturers. Some of these retailers
 and manufacturers include Apple, Dell, IBM, Procter & Gamble, General Mills, The Dannon
 Company, Bayer, AG, Bosa Development, Kellogg Company and General Dynamics.

         Mr. Blood has been involved in a number of precedent-setting appellate decisions in
 areas which include consumer and insurance law and class action procedure. These appellate
 decisions include: Rikos v. The Procter & Gamble Co., 799 F.3d 497 (6th Cir. 2015) (class
 certification); Corvello v. Wells Fargo Bank, NA, 728 F.3d 878 (9th Cir. 2013) (consumer
 protection and banking); Fitzpatrick v. Gen. Mills, Inc., 635 F.3d 1279 (11th Cir. 2011) (class
 certification, consumer law and false advertising); Westwood Apex v. Contreras, 644 F.3d 799
 (9th Cir. 2011) (CAFA jurisdiction); Kwikset Corp. v. Super. Ct. (Benson), 51 Cal. 4th 310
 (2011) (consumer law and false advertising); Martinez v. Wells Fargo Home Mortg., Inc., 598
 F.3d 549 (9th Cir. 2010) (banking and preemption); Troyk v. Farmers Grp., Inc., 171 Cal. App.
 4th 1305 (2009) (insurance law); Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 148 P.3d 1179
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 (Haw. 2006) (health insurance); McKell v. Wash. Mut. Bank, Inc., 142 Cal. App. 4th 1457 (2006)
 (banking law and consumer law); Santiago v. GMAC Mortg. Grp., Inc., 417 F.3d 384 (3d Cir.
 2005) (consumer and banking law); Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070
 (2004) (automobile insurance and class action procedure); Moore v. Liberty Nat’l Life Ins. Co.,
 267 F.3d 1209 (11th Cir. 2001), cert. denied, 535 U.S. 1018 (2002) (life insurance and civil
 rights); Kruse v. Wells Fargo Home Mortg., Inc., 383 F.3d 49 (2d Cir. 2004) (consumer and
 banking law); and Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003) (consumer law
 and false advertising).

         Mr. Blood has testified before the California State Assembly and State Senate Judiciary
 Committees, as well as the Assembly and Senate Committees on Banking, Finance & Insurance.
 He has worked at both the state and federal level with lawmakers and government agencies to
 shape legislation to protect consumer rights, including lobbying on the Class Action Fairness Act
 of 2005 and working to defeat a California state ballot initiative designed to weaken the class
 action device.

          Mr. Blood is a frequent continuing legal education speaker on topics which include
 complex litigation, class action procedure, consumer fraud, false advertising, financial fraud
 litigation and insurance litigation. He has been an invited speaker for American Bar Association
 practice groups, the Practicing Law Institute, University of San Diego School of Law, University
 of Arizona School of Law, Loyola Law School, the Grocery Manufacturers Association, the
 American Association of Justice, Consumer Attorneys of California, ALI-ABA, the National
 Practice Institute, Bridgeport Continuing Education, Law Seminars International, and the
 Consumer Attorneys of San Diego, for which he chairs a multi-day seminar on class action
 litigation.

        Mr. Blood is frequently consulted by the media. He has appeared on Good Morning
 America, ABC World News Tonight, and major network affiliates on behalf of his clients. He
 has been interviewed for stories featuring consumer rights issues and his cases by The New York
 Times, The Wall Street Journal, Bloomberg, Reuters, the Associated Press, The Los Angeles
 Times, National Public Radio, the Daily Journal, Adweek, the Los Angeles Daily News, CNBC,
 Fox News, the Korean Broadcasting Service and others.

         Mr. Blood is an executive officer of the Consumer Attorneys of California, and was the
 2015 President of the Consumer Attorneys of San Diego. In 2007, he was a finalist for the
 Consumer Attorneys of California Lawyer of the Year award for his trial work in a multistate
 class action against Farmers Insurance. He has been named a “Super Lawyer” since 2006 and has
 achieved an “AV” rating by Martindale Hubbell. In 2014, Mr. Blood was named a “Titan of the
 Plaintiff’s Bar” by the national legal publication Law360. Mr. Blood was elected a Fellow of the
 American Bar Foundation. Mr. Blood is also the Legislative Column Editor for Trial Bar News.
 Mr. Blood is also a founding member of the San Diego ESI Forum, a group of judges and
 lawyers devoted to teaching legal professionals in federal and state court about electronic
 discovery.

         Mr. Blood is admitted to practice in the state of California, as well as the U.S Supreme
 Court, the United States Courts of Appeal for the Third, Fifth, Sixth, Eighth, Ninth and Eleventh
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 Circuits, and the United States District Courts for the Northern, Eastern, Central and Southern
 Districts of California, the Eastern and Western Districts of Arkansas, the Northern District of
 Illinois, and the Eastern District of Michigan. Before starting Blood Hurst & O’Reardon, Mr.
 Blood was a partner in Milberg Weiss Bershad Hynes & Lerach, LLP and a founding partner in
 the firm now known as Robbins Geller Rudman & Dowd, LLP. Mr. Blood received his Juris
 Doctor from George Washington University in 1990 and his Bachelor of Arts with honors in
 Economics from Hobart College in 1987.

                                          Leslie E. Hurst

        Ms. Hurst is a co-founding partner of the firm. Prior to founding the firm, Ms. Hurst was
 a partner in Coughlin Stoia Geller Rudman & Robbins, LLP and an associate at Milberg Weiss
 Bershad Hynes & Lerach, LLP.

          Her practice has focused on complex class action lawsuits, including federal multi-district
 litigation and California Judicial Council Coordinated Proceedings, with an emphasis on
 consumer fraud and insurance cases under California’s consumer protection statutes.

          Ms. Hurst works in a number of practice areas, including areas focusing on cases against:
 (1) life insurers for misrepresenting the terms of vanishing premium life insurance; (2) auto
 insurers for repairs with non-OEM parts, diminished value claims and improper collection of
 installment service charges; (3) financial institutions for a variety of conduct; (4) insurance
 companies for race-based discrimination in the sale of small value “industrial” or “burial”
 insurance policies; (5) consumer goods manufacturers for false and deceptive advertising;
 (6) real estate developers for fraud and false advertising; and (7) improper collection and over
 collection of fees from residents by the City of Los Angeles.

         The most recent settlements on which Ms. Hurst was instrumental include: Serochi v.
 Bosa Dev. (Cal. Super. Ct., San Diego Cnty.), ($16.75 million settlement to condominium
 purchasers for square footage misrepresentations by the developer); Chakhalyan v. City of Los
 Angeles (Cal. Super. Ct., Los Angeles Cnty.), (providing full refunds of overcharges and a
 revamping of L.A. billing practices); Hartless v. Clorox Co., (S.D. Cal.) (nationwide settlement
 in excess of $10 million that provided 100% recovery of damages to class members); In re
 Enfamil LIPIL Mktg. & Sales Practices Litig. (S.D. Fla.) (nationwide settlement in excess of $8
 million involving false advertising of infant formula); In re Skechers Toning Shoes Prods. Liab.
 Litig. (W.D. Ky.) (nationwide settlement of $45 million).

         Ms. Hurst is also involved in the firm’s appellate practice. She successfully argued before
 the Ninth Circuit Court of Appeal in Corvello v. Wells Fargo Bank, NA, (9th Cir.) and before
 California’s Second District Court of Appeal in Goodman v. Wells Fargo Bank, NA, and before
 California’s Fourth District Court of Appeal in Guerra v. San Diego Gas & Elec. Ms. Hurst also
 briefed the appeals in Rikos v. The Procter & Gamble Co. (6th Cir.); In re Enfamil LIPIL Mktg.
 & Sales Practices Litig. (11th Cir.); Hartless v. Clorox Co. (9th Cir.); Garcia v. Sony Comput.
 Entm’t (9th Cir.); and Gutierrez v. Wells Fargo Bank, N.A. (9th Cir.).


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       Between 2003 and 2005, Ms. Hurst took a sabbatical from law and moved to Sri Lanka
 where she worked for CARE International as the Coordinator for Strategic Planning with an
 emphasis on development of CARE’s long-term strategic plan for the conflict-affected areas.

        Ms. Hurst is admitted to practice in the state of California, as well as the United States
 Court of Appeals for the Sixth and Ninth Circuits, and the United States District Courts for the
 Northern, Eastern, Central and Southern Districts of California. Ms. Hurst received her Juris
 Doctor degree from the University of California, Hastings College of the Law in 1995. She
 earned her Master of Arts degree in Sociology from the University of California, Berkeley and a
 Bachelor of Arts degree in Sociology (cum laude) from the University of San Diego. Ms. Hurst
 is an active member of the Consumer Attorneys of San Diego, and Consumer Attorneys of
 California.

                                    Thomas J. O’Reardon II

         Mr. O’Reardon is a co-founding partner of the firm. His practice focuses exclusively on
 complex class action lawsuits involving consumer fraud, insurance fraud and antitrust violations.
 Mr. O’Reardon received his Juris Doctor degree from the University of San Diego School of
 Law and his Bachelor of Arts degree in Politics from Wake Forest University. He is admitted to
 practice in the state of California, as well as the United States Courts of Appeal for the Sixth,
 Eighth and Ninth Circuits, and the United States District Courts for the Northern, Eastern,
 Central and Southern Districts of California and the Northern District of Illinois.

          Prior to founding the firm, Mr. O’Reardon was an associate at Coughlin Stoia Geller
 Rudman & Robbins, LLP. There, Mr. O’Reardon worked on numerous complex class action
 litigation matters, including actions involving: annuity policies marketed and sold to senior
 citizens; insurer kickbacks known as “contingent commissions” in the property and casualty
 insurance brokerage industry; Sherman Act claims against the world’s largest manufacturers of
 random access memory for computers; invasions of credit card holder’s rights of privacy; false
 and deceptive advertising of consumer goods and wireless telephone services; automobile
 insurers’ unlawful practices with respect to installment pay plans; and dangerous and defective
 products, including recalled children’s toys. He was also part of the team representing the
 California Department of Insurance against five of the largest employee benefit insurance
 companies for violations relating to their failure to disclose payments of contingent commissions
 to brokers. As a result of the action, all five defendants agreed to sweeping changes in their
 disclosure practices.

         Some of the actions on which Mr. O’Reardon has worked include: Rikos v. The Proctor
 & Gamble Co. (S.D. Ohio) (certified class action involving false advertising of P&G’s Align
 probiotic, affirmed by the Sixth Circuit); In re Skechers Toning Shoes Prods. Liab. Litig. (W.D.
 Ky.) (nationwide settlement of $45 million involving false advertising of Skechers’ Shape-ups
 toning shoes products); In re Reebok Easytone Litig. (D. Mass.) (nationwide settlement of $25
 million involving false advertising of Reebok toning footwear and apparel products); Dolfo v.
 Bank of Am. (S.D. Cal.) (certified class action involving mortgage modification banking
 practices); Johnson v. Gen. Mills, Inc. (C.D. Cal.) (certified class action involving false
 advertising of General Mills’ YoPlus yogurt, which resulted in a nationwide settlement of $8.5
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 million); Fitzpatrick v. Gen. Mills, Inc. (S.D. Fla.) (certified class action reviewed and approved
 by the Eleventh Circuit); Johns v. Bayer Corp. (S.D. Cal.) (certified class action involving false
 advertising of Bayer’s One-A-Day multivitamins); Godec v. Bayer Corp. (N.D. Ohio) (certified
 class action involving false advertising of Bayer’s One-A-Day multivitamins, which settled on a
 classwide basis); Corvello v. Wells Fargo Bank, NA (N.D. Cal.) (certified class action involving
 mortgage modification practices where order granting motion to dismiss was reversed by the
 Ninth Circuit in a published opinion); Rosales v. FitFlop USA LLC (S.D. Cal.) (nationwide
 settlement of $5.3 million involving false advertising of toning footwear); Blessing v. Sirius XM
 Radio, Inc. (S.D.N.Y.) (nationwide settlement valued in excess of $180 million involving
 monopoly price increases arising out of the merger between Sirius and XM); In re Dynamic
 Random Access Memory Antitrust Litig. (N.D. Cal.) (settlement of more than $300 million); In re
 Mattel, Inc .[Toy Lead Paint Prods. Liab. Litig.] (C.D. Cal.) (nationwide settlement valued at
 over $50 million); Gemelas v. Dannon Co., Inc. (N.D. Ohio) (nationwide settlement in excess of
 $45 million involving false advertising of Dannon’s Activia and DanActive yogurt products); In
 re Enfamil LIPIL Mktg. & Sales Practices Litig. (S.D. Fla.) (certified class action involving false
 advertising of infant formula, which resulted in nationwide settlement in excess of $8 million);
 Smith v. Wm. Wrigley Jr. Co. (S.D. Fla.) (nationwide settlement in excess of $7 million involving
 false advertising of Wrigley Eclipse chewing gum and mints); Duffer v. Chattem, Inc. (S.D. Cal.)
 (nationwide settlement of up to $1.8 million involving false advertising of ACT Total Care
 mouthwash); In re Enron Corp. Sec. Litig. (S.D. Tex.) (settlements of $7.3 billion); AOL Time
 Warner Cases (Cal. Super. Ct., Los Angeles Cnty.) (settlements of approximately $630 million);
 Morris v. CBS Broad., Inc. (S.D.N.Y.) (nationwide settlement on behalf of purchasers of
 asbestos-laden children’s toys); In re Aqua Dots Prods. Liab. Litig. (N.D. Ill.) (multidistrict
 litigation on behalf of purchasers of more than 4 million toxic children’s toys); Berry v. Mega
 Brands, Inc. (D.N.J.) (litigation on behalf of purchasers of more than 10 million lethal children’s
 toys); In re Toyota Motor Cases, (Cal. Super. Ct., Los Angeles Cnty.) (litigation on behalf of
 consumers who purchased vehicles subject to “sudden unintended acceleration”); and In re
 Hydroxycut Mktg. and Sales Practices Litig. (S.D. Cal.) (multidistrict litigation on behalf of
 purchasers of unsafe and ineffective weight-loss products, which resulted in a nationwide
 settlement valued in excess of $20 million). With the exception of the Blessing v. Sirius XM
 Radio. Inc. litigation, Mr. O’Reardon and/or his firm served as court-appointed Lead or Co-Lead
 Counsel in each of the above-mentioned class actions. In granting final settlement approval,
 which included appointing Mr. O’Reardon as Class Counsel, the Court’s order in the Johnson v.
 Gen. Mills. Inc. (C.D. Cal.) action states that Mr. O’Reardon is “vastly experienced” in consumer
 class action litigation.

          Mr. O’Reardon is an active member of the Consumer Attorneys of San Diego, the
 Consumer Attorneys of California, and a founding member of the CAOC Young Lawyers
 Division. In 2014 and 2015, Mr. O’Reardon was named a “Super Lawyers Rising Star,” a
 designation provided to less than 2.5 percent of lawyers in California. He has also been a
 member of, and contributing author for, The Sedona Conference Working Group on Electronic
 Document Retention and Production. Mr. O’Reardon has been an invited speaker for the
 University of San Diego School of Law, Consumer Attorneys of California, the Consumer
 Attorneys of San Diego, and the San Diego ESI Forum on topics which include complex
 litigation, electronic discovery, and the class action settlement process.

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                                           Paula R. Brown

          Ms. Brown is an associate with the firm. Her practice focuses on complex class action
 litigation, including consumer and antitrust cases in federal multi-district litigation and California
 Judicial Council Coordinated Proceedings. Ms. Brown is also involved in the firm’s appellate
 practice.

          Ms. Brown received her Juris Doctor degree and graduated cum laude from California
 Western School of Law in 2007 and earned her Bachelor of Arts degree in Political Science from
 the University of Washington in 2004. While at California Western, Ms. Brown was a member
 of the California Western Law Review and authored Parent-Child Relationship Trumps Biology:
 California’s Definition of Parent in the Context of Same-Sex Relationships, 43 Cal. W. L. Rev.
 235 (2006). She is admitted to practice in the state of California, as well as the United States
 Courts of Appeal for the Eighth and Ninth Circuits, and the United States District Courts for the
 Northern, Eastern, Central and Southern Districts of California and the Northern District of
 Illinois.

         Prior to joining Blood Hurst & O’Reardon, Ms. Brown was an associate at Coughlin
 Stoia Geller Rudman & Robbins, LLP. While there, she represented plaintiffs in a number of
 complex class action litigation matters involving: price-fixing claims against the world’s largest
 aftermarket auto lighting parts manufacturers and distributors; monopoly claims against the
 largest seller of portable media players; price fixing claims against containerboard
 manufacturers; race-discrimination claims against mortgage lenders; and false and deceptive
 practices in the sale of defective children’s products and toys.

         Some of the actions on which Ms. Brown has worked include: Serochi v. Bosa Dev. (Cal.
 Super. Ct., San Diego Cnty.), (misrepresentations case); Dennis v. Kellogg Co. (nationwide false
 advertising); In re Skechers Toning Shoes Prods. Liab. Litig. (W.D. Ky.) (nationwide false
 advertising); In re Reebok Easytone Litig. (D. Mass.) (nationwide false advertising); Dremak v.
 Urban Outfitters, Inc. (Cal. Super. Ct., Los Angeles Cnty.) (consumer privacy); In re Sony
 Gaming Networks and Customer Data Sec. Breach Litig. (S.D. Cal.) (consumer privacy); In re
 Hydroxycut Mkt. and Sales Practices Litig. (S.D. Cal.) (false advertising); In re Apple iPod
 iTunes Antitrust Litig. (N.D. Cal.) (monopoly claims); In re Mattel, Inc. [Toy Lead Paint Prods.
 Liab. Litig.] (C.D. Cal.) (nationwide sale of defective product); In re Aftermarket Auto. Lighting
 Prods. Antitrust Litig. (C.D. Cal.) (price fixing); Payares v. JP Morgan Chase & Co. (C.D. Cal.);
 Salazar v. Greenpoint Mortg. (N.D. Cal.); Puello v. Citifinancial (D. Mass.); Morris v. CBS
 Broad., Inc. (S.D.N.Y.) (defective product); In re Aqua Dots Prods. Liab. Litig. (N.D. Ill.)
 (defective product); and Berry v. Mega Brands, Inc. (D.N.J.) (defective product).

         Ms. Brown is an active member of the Consumer Attorneys of San Diego and the
 Consumer Attorneys of California. In 2015, Ms. Brown was named a “Super Lawyers Rising
 Star,” a designation provided to less than 2.5 percent of lawyers in California.




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                                          Camille S. Bass

          Ms. Bass is an associate with the firm. Her practice focuses on complex class action cases
  involving consumer fraud and product liability issues. Ms. Bass received her Bachelor of Science
  from Arizona State University and her Juris Doctor from St. John’s University School of Law in
  New York, where she was a member of the junior moot court team and was awarded a
  fellowship in international business transactions with Soochow University in Suzhou, China.
  During law school Ms. Bass also clerked for the Honorable John C. Rea with the Superior Court
  of the State of Arizona.

          Before joining Blood Hurst & O’Reardon, Ms. Bass was Senior Counsel at Gordon Rees
  Scully Mansukhani in the Commercial Litigation, Environmental and Toxic Tort, and Privacy
  and Data Security practice groups, and she authored several privacy-related blog posts (‘Twas
  the season for data breaches; To post on Facebook, or not to post; Speedy internet may cost you
  more than money; and What’s up next on the hacking block?).

          Prior to joining Gordon & Rees, Ms. Bass was an associate at Hagens Berman Sobol
  Shapiro. While there, she worked on complex class actions and multidistrict litigation such as: In
  re: Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, and Prod. Liab. Litig.
  (C.D. Cal.) (landmark $1.6 billion settlement involving consumers who purchased certain Toyota
  and Lexus models that were subject to sudden unintended acceleration); Kearney v. Hyundai
  Motor Am. (C.D. Cal.) (settlement involving certain Hyundai models with defective occupant
  classification systems that failed to deploy front passenger airbags in an accident); and In re:
  Hyundai and Kia Fuel Econ. Litig. (C.D. Cal.) (certified class action settlement involving flawed
  testing methods that lead to overstated MPG estimates on certain Hyundai and Kia models,
  currently on appeal).

          Ms. Bass is a member of the California and Arizona Bars and is licensed to practice
  before the United States District Courts for the Southern and Central Districts of California and
  the United States District Court for the District of Arizona. She is also an active member of the
  Lawyers Club of San Diego, Consumer Attorneys of California, and Consumer Attorneys of San
  Diego.

                                     Jennifer L. MacPherson

          Ms. MacPherson is of counsel with the firm. Her practice focuses on complex class
  action litigation. Ms. MacPherson received her Juris Doctor degree from the University of San
  Diego School of Law in 1997 with a J.D. and an L.L.M in tax and earned her Bachelor of Arts
  degree in International Business and Marketing from the University of Hawaii in 1994. During
  law school she was a summer law clerk to the Honorable Walter S. Kirimitsu (Ret.) in the
  Hawaii Intermediate Court of Appeals and was a research assistant to Professor C. Hugh
  Friedman author of California Practice Guide: Corporations. She is a member of the California
  Bar and is licensed to practice before the United States District Courts for the Central, Southern
  and Northern Districts of California.


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           For over a decade Ms. MacPherson has prosecuted class actions on behalf of consumers,
  policyholders, investors, employees, and medical practitioners against the nation’s largest
  retailers and manufacturers of consumer products, insurers of homes and automobiles, banks,
  and employers for violations of federal and state consumer, antitrust, securities and labor laws.
  During this time she has actively litigated complex class action litigation matters involving: false
  and deceptive advertising by one of the nation’s largest retail mall chains for selling gift cards
  subject to a monthly service fee in violation of state law; truth in lending claims against a
  national bank for suspending borrower’s home equity lines of credit; breach of contract claims
  against national lenders for failing to modify borrower’s home loans after successful completion
  of a trial period plan; product defect claims against the world’s largest manufacturers of laptops
  and cell phones; RICO claims against the nation’s largest health insurance companies for
  denying, delaying and reducing payments to health care providers nationwide; privacy claims
  against national pharmacies for allegedly using prescription information to conduct targeted
  marketing campaigns on behalf of drug companies; data breach lawsuits against national banks
  and retailers for failing to properly safeguard consumer’s personal information.

         Some of these actions include: Solomon v. Anthem, Inc. (S.D. Fla.); In re Sony VAIO
  Comput. Notebook Trackpad Litig. (S.D. Cal.); Horvath v. LG Elecs. MobileComm U.S.A., Inc.,
  (S.D. Cal.); Kazemi v. Westfield Am., Inc. (Cal. Super. Ct., Los Angeles Cnty.); Frost v. LG
  Elecs. Mobilecomm U.S.A., Inc. (Cal. Super. Ct., Los Angeles Cnty.); Shamrell v. Apple, Inc.
  (Cal. Super. Ct., Los Angeles Cnty.).




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